Case 1:10-cv-04177-SHS Document 4 Filed 07/08 Reape Se

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UNITED STATES DISTRICT COURT DOC #: bt
SOUTHERN DISTRICT OF NEW YORK DATE FILED: 7/3/10
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PATRICK LOPRESTI, ET AL., 10 Civ. 4177 (SHS)
Plaintiffs,
-against- : ORDER
MINUTEMAN PRESS, ET ANO,
Defendants.
xX

A pretrial conference having been held today, with counsel for plaintiffs present,
and no appearance on behalf of defendants,

IT IS HEREBY ORDERED that:

1. The last day for plaintiff to serve the summons and complaint on defen-

dant Thomas Cronin is August 6, 2010;

2. There will be a pretrial conference on September 10, 2010, at 10:00 a.m.;

and

3. Plaintiff shall send a copy of this Order to defendant Thomas Cronin.

Sidney B/Stein, U.S.D.J.

Dated: New York, New York
July 8, 2010

